                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION

                                DOCKET NO. 3:95-cr-5-3FDW


 UNITED STATES OF AMERICA,                       )
                                                 )
                   v                             )
                                                 )
 JACKIE MCKUBBIN,                                )                    ORDER
                                                 )
                Defendant.                       )
                                                 )

       THIS MATTER is before the Court on Defendant’s pro se motions (Doc # 838, 840, &

843) for “further reduction” of his sentence pursuant to 18 U.S.C. § 3582(c)(2). Defendant’s

motions are DENIED. The defendant’s previous Offense Level was 43 and the amended Offense

Level is now 41. The defendant was granted a reduction from Life to 360 months. The reduced

sentence is within the amended guideline range. The defendant is also serving a concurrent sentence

of 120 months in Court Nineteen for a violation of 18 U. S. C . § 924(h).

       IT IS SO ORDERED.

                                                Signed: March 22, 2010




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